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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

                                                 §
                                                 §
                                                 §
 SHANELLE JENKINS, as                            §
 surviving spouse, and                           §
                                                 §
 Representative of the Estate of                 §
 ROBERT GERON MILLER                             §
                                                 §
          Plaintiff,                             §       CIVIL ACTION NO. 4:21-cv-910
 v.                                              §
                                                 §
 TARRANT COUNTY                                  §
                                                         JURY TRIAL DEMANDED
 SHERIFF’S OFFICE, BILL E.                       §
 WAYBOURN in his official                        §
 capacity as Sheriff of Tarrant                  §
                                                 §
 County, Texas, TARRANT
                                                 §
 COUNTY, and TEXAS                               §
 DEPARTMENT OF PUBLIC                            §
 SAFETY, TEXAS RANGERS                           §
 DIVISION                                        §
                                                 §
          Defendants.                            §



                         PLAINTIFF’S NOTICE OF APPEAL


         Notice is given that the Plaintiff, SHANELLE JENKINS, as surviving spouse, and

Representative of the Estate of ROBERT GERON MILLER, hereby appeals to the Fifth Circuit

Court of Appeals from the February 11, 2022 Memorandum Opinion, Order, and Final Judgment

issued by the Northern District of Texas Fort Worth Division Court granting Defendants’, Tarrant

County, the Tarrant County Sheriff’s Office, and Sheriff Bill Waybourn’s Amended Motion to

Dismiss, dismissing Plaintiff’s federal law claims with prejudice, state law claims without

prejudice that are time-barred, and denying as moot Plaintiff’s Motion to Stay Proceedings

Pending Resolution of Writ of Mandamus.
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Dated: March 8, 2022                    Respectfully Submitted,

                                        /s/ Jay D. Ellwanger______________
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                                        COUNSEL FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       This is to certify that on this 8th day of March 2022, a true and accurate copy of the

foregoing document was served on counsel of record through the Court’s ECF system.

                                                             /s/ Jay D. Ellwanger
                                                            Jay D. Ellwanger
